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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                  FORT PIERCE DIVISION

                          CASE NO. 24-14037-CIV-CANNON/Maynard

  ALEKSEY TOVARIAN,

         Plaintiff,
  v.

  RUBIC, LLC,

        Defendant.
  _______________________________/

                      ORDER REQUIRING JOINT SCHEDULING REPORT
                       AND CERTIFICATES OF INTERESTED PARTIES 1

         The parties are directed to jointly file and sign a Joint Scheduling Report by March 27,

  2025. The Joint Scheduling Report must contain all of the information specified in Local Rule

  16.1 and come accompanied by a Joint Proposed Scheduling Order that is both attached as an

  exhibit on CM/ECF and sent in Word format via email to cannon@flsd.uscourts.gov.

         In addition, by March 27, 2025, the parties, including governmental parties, must file

  Certificates of Interested Parties and Corporate Disclosure Statements that contain a complete list

  of persons, associated persons, firms, partnerships, or corporations that have a financial interest in

  the outcome of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and

  other identifiable legal entities related to a party. See Fed. R. Civ. P. 7.1(a). Throughout the

  pendency of the action, the parties are under a continuing obligation to amend, correct, and update

  the Certificates. Fed. R. Civ. P. 7.1(b)(2).




  1
    The parties must not include Judge Cannon as an interested party unless she has an interest in the
  litigation.
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        ORDERED in Chambers at Fort Pierce, Florida, this 14th day of March 2025.


                                                     _________________________________
                                                     AILEEN M. CANNON
                                                     UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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